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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-01299-LTB


STEVEN DUANE CURRY,

       Plaintiff/Applicant,

v.

[NO NAMED DEFENDANT/RESPONDENT],

       Defendant/Respondent.


                                      JUDGMENT


       Pursuant to and in accordance with the Order of Dismissal entered by Lewis T.

Babcock, Senior District Judge, on July 5, 2018, it is hereby

       ORDERED that Judgment is entered in favor of Defendant/Respondent and

against Plaintiff/Applicant.

       DATED at Denver, Colorado, this 5 day of July, 2018.

                                         FOR THE COURT,

                                         JEFFREY P. COLWELL, Clerk

                                         By: s/ A. Garcia Garcia
                                                Deputy Clerk
